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 8
                              UNITED STATES DISTRICT COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
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11
      RICHARD JACKSON, et al.,                          Case No. 2:22-cv-09438-AB
12                                                      (MAA)
13                      Plaintiffs,
                                                        JOINT STIPULATION TO
14          v.                                          EXTEND TIME TO RESPOND
                                                        TO INITIAL COMPLAINT BY
15    TWITTER, INC., et al.                             NOT MORE THAN 30 DAYS
                                                        (L.R. 8-3)
16                      Defendants.
                                                        Complaint Served: January 19,
17                                                      2023
                                                        Current Response Date: February 9,
18                                                      2023
                                                        New Response Date: March 13,
19                                                      2023
20                                                       Trial Date: Not Set
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                                        JOINT STIPULATION
                                  CASE NO. 2:22-CV-09438-AB (MAA).
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3           The Plaintiffs Richard Jackson, et al. ("Plaintiffs") and Defendant Apple Inc.
 4    ("Apple") (together, the "Parties") hereby stipulate and agree as follows:
 5                                        RECITALS
 6          A.     Plaintiffs filed their initial complaint on December 29, 2022;
 7          B.     Plaintiffs served the summons and complaint on Apple on
 8    January 19, 2023;
9           C.     Apple's current response to the complaint is due on or before February
10    9, 2023.
11          D.     The Parties have conferred and agree that, to afford Apple time to
12    respond to the complaint, Apple should be permitted thirty (30) additional days
13    before being required to file a response.
14          E.     Under F.R.C.P. 6(a)(1)(C), because the final day of this 30-day period
15    falls on Saturday March 11, 2023, the period of time for Apple to respond will
16    extend to Monday March 13, 2023.
17                                      STIPULATION
18          The Parties, by and through their counsel, hereby stipulate to extend Apple's
19    last day to respond to Plaintiffs complaint to and including March 13, 2023.
20
21
22    Dated: February 6, 2023                         JENNER & BLOCK LLP
23                                                    By: /s/ David R. Singer
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                                       JOINT STIPULATION
                                 CASE NO. 2:22-CV-09438-AB (MAA).
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 2   Dated: February1     023                      LAW OFFICES OF MICH            L E.
                                                   REZNICK
 3
 4                                                 By: /s/
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 8
 9                                                 Attorneyfor Plaintiffs' Richard
                                                   Jackson et al.
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11
     Pursuant to Local Rule 5-4.3.4(a)(2)N, the filer attests that all signatories listed
12
     and on whose behalf thefiling is submitted, concur in the filing's content and have
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     authorized the filing.
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                                      JOINT STIPULATION
                                CASE NO. 2:22-CV-09438-AB (MAA).
